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lN THE UN|TED STATES D|STR|CT COURT
FOR THE D|STR|CT OF NEVADA

JENN|FER NUNES,
DENNYS S|AN, a Nevada citizen,
RA|V|ONA WELLS, a Nevada citizen;
JAYSON |\/|ORGAN, a Nevada citizen, and
KEYATRA GRANT, a Nevada citizen

a Nevada citizen,

P|aintiffs,
v.

AFF|N|TYL|FESTYLES.CO|\/|, |NC. dba
Rea| Water, a Nevada corporation, ROE
Defendants 1-100.

Defendants.

 

 

 

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Case No.: 2:16-cv-02265-APG-NJK

PLAlNTlFFs’ oPPoslTloN To
AFF|N|TYL|FESTYLEs.coM, lNc. d/b/a
REAL wATER’s MoTloN To Dlslvllss
PuRsuANT To FRcP 12(5)(6) AND
9(B); AND MoTloN To sTRlKE
PuRsuANT To FRcP 12(F)

 

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PLA|NT|FFS’ OPPOS|T|ON TO AFF|N|TYL|FESTYLES.COM, |NC. dlbla REAL
WATER’S MOT|ON TO D|SM|SS PURSUANT TO FRCP 12(B)(6) AND 9(B); AND
MOT|ON TO STR|KE PURSUANT TO FRCP 12(F)

P|aintiffs by and through its undersigned counsel, files this Response to
Affinity|ifesty|es.com, lnc. d/b/a Real Water’s l\/lotion to Dismiss Pursuant to FRCP
12(B)(6) and 9(B); and l\/lotion to Strike Pursuant to FRCP 12(F). This Response is made
and based upon the pleadings and papers on file herein, the following l\/lemorandum of
Points and Authorities, and any oral argument the Court may entertain at the time set for
the hearing of this matter.

DATED this 21St day of October 2016.

CANEPA R|EDY ABELE & COSTELLO

/s/ Terrv W. Riedv

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MEMORANDUM OF PO|NTS AND AUTHOR|T|E_S_

|. Summary of Argument in Opposition

Section ll of this brief. This court should not rule on defendant’s motions (ECF
Doc. 8) before it decides whether it lacks subject matter jurisdiction and must remand the
case. Section /// of this brief. Plaintiffs have stated sufficient and plausible claims for
relief sounding in violations of Nevada’s Deceptive Trade Practices Act (NDTPA), breach
of express and implied warranties, and unjust enrichment FRCP 8, 9(b) and 12(b). All of
these purely state-law claims have been sustained under similar circumstances in false
labeling cases. Section /V of this brief. Plaintiffs’ class action allegations should not be
stricken on their NDTPA claims because: 1) the Act’s plain language allows for common
proof of causation (reliance) based on a “reasonable person” standard, which is 2)
consistent with Nevada common law, legislative history and the underlying policy of the
NDTPA; 3) because the unique facts and circumstances of this case are plainly different
from those in the Picus case, such that a different outcome would be likely; and because
4) class certification of an NDTPA violation is substantially congruent with application of
the reasonable person/consumer standard adopted by the Ninth Circuit under similar
circumstances

Finally, defendant’s motions are characterized by a lack of candor. Overall,
motions to dismiss or strike of this kind, particularly of this character, are not favored or
successful.
||. This Court Lacks Subject Matter Jurisdiction.

This is a putative consumer class action brought on behalf of Nevada consumers
who bought defendant’s “Real Water” bottled water, each bottle prominently bearing a
colorful label expressly stating that the water has been infused with negative ions
(antioxidant electrons) that have unique, specific healing properties that distinguish it from

other bottled waters. ECF Doc. 2-1, 11. This is likely why defendant recently removed

 

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these statements from its labels, see infra at pages 12 -14 of this brief, after over a
decade of deceiving the public using the former label.

Based upon the material misrepresentations of fact on every label, the putative class
members have alleged four state-law based claims sounding in violations of Nevada’s
Deceptive Trade Practices Act, and common law express warranty, implied warranty and
unjust enrichment laws. The case was filed in Nevada state court and removed solely on
the basis of federal question jurisdiction. But there are no federal questions or
“substantial” federal interests at stake; and, these false advertising claims are not
preempted either, because the Federal Food, Drug and Cosmetic Act provides for no
private right of action. Merrell Dow Pharmaceutica/s /nc. v. Thompson, 478 U.S. 804
(1986) (finding removal of the action to federal court was improper, on facts practically
indistinguishable from those here).1 Plaintiffs point this out to avoid the novel pitfalls
associated with the court ruling on defendant’s Rule 9(b), 12(b) and 12(f) motion if it has
no subject matterjurisdiction. Special investments lnc. v. Aero Air lnc., 360 F.3d 989, 995
(9th Cir. 2004) (vacating rulings made before subject matter jurisdiction was decided and
the case remanded).

|||. Opposition to Defendant’s Rule 9(b) and Rule 12(b) Cha|lenges
1. Plaintiffs’ We|l P|ead Complaint Contains Sufficient Facts Which, |f
Accepted as True, State P|ausib|e C|aims for Relief. The Facts of this
Case Do Not Amount to the Rare Situation in Which Granting a Motion
to Dismiss is Appropriate.
A district court should only dismiss a case if the plaintiffs are found to have not pled
“enough facts to state a claim to relief that is plausible on its face”. Be// At/antic v.
Twombly, 550 U.S. 544, 127 S. Ct. 1955, 1974, 167 L.Ed.2d 929 (2007). A claim has

“facial plausibility” if plaintiffs have pled factual content that allows the court to draw

reasonable inferences that the defendant is liable for the misconduct alleged. Ashcroft v.

 

1 Plaintiff’s contemporaneous motion to remand elaborates on these points.

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lqba/, 556 U.S. 662, 129 S. Ct. 1937, ------- (2009). And of course, all allegations of
material fact in the complaint are taken as true and construed in the light most favorable
to the plaintiff. Stoner v. Santa Clara County Office of Educ., 502 F.3d 1116, 1120 (9th
Cir. 2007). Finally, it is “rare” in false advertising cases to grant such a motion because
whether a business practice is deceptive is usually a question of fact that is not
appropriate for decision on demurrer. Wi//iams v. Gerber Products Company, 552 F.3d
934, 938-39 (9th Cir. 2008) (reversing district court’s entry of dismissal).

The court is certainly free to read plaintiff’s complaint and make its own pragmatic
determination that a reasonable consumer would plausibly be deceived by the remarkable
advertised qualities of Real Water. ECF Doc. 2-1. But if an exposition is required, then
one is readily given.

The plaintiffs have alleged that they were purchasers and consumers of Real
Water who, based on the false and misleading scientific and health claims repeated on
every bottle, paid a premium price for cheap, treated tap water. ECF Doc. 2-1,
paragraphs 1 - 5, 10. Therefore, the requirement to plead a “concrete injury” for
purposes of standing to sue, commonality and typicality amongst class members has
clearly been satisfied Ries v. Arizona Beverages USA, LLC, 287 F.R.D. 523, 536 (N.D.
Cal. Nov. 27, 2012) (holding that paying a premium price based on deceptive advertising
constitutes an actionable economic, concrete injury). Regardless, plaintiffs have also
established materiality and plausible grounds for deceit (injury) upon a “reasonable
consumer“’ standard, evaluated at length in this brief.

The plaintiffs have identified the right defendant, which was easy because its
identity appears on the label of every bott|e. ECF Doc. 2-1, paragraphs 6 and 11. The

complaint alleges that Real Water has sold tens of thousands of the deceptively labeled

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water bottles to Nevada consumers through Nevada venues over a long period of time,
including the last several years (see above). ECF Doc. 2-1, paragraphs 6, 10 and 25.

The plaintiffs have provided the offensive label for the court’s own review (ECF
Doc. 2-1, paragraph 11), and painstakingly cited the specific language expressly touting
the special scientific and medical qualities of the water and explaining why, with abundant,
competent references, they are false and/or misleading. ECF Doc. 2-1, paragraphs 12 -
20. 2

The complaint goes on to assert class allegations based on four state law causes
of action, each of which “plausibly” arise directly from the same common core of operative
facts: the label itself. For example, plaintiff’s deceptive trade practice claim cites the
specific provisions that the label violates and explains the factual basis and scientific
reasoning for each one. ECF Doc. 2-1, paragraphs 41 - 49. The same is true of the
breach of warranty and unjust enrichment claims, where specific facts are analyzed as
part of the elements of proof. ln short, plaintiff has pled more than sufficient facts, which if
assumed to be true, and consistent with numerous Ninth Circuit precedents, would sustain
class certification based on each of the alleged causes of action pled in the complaint.

2. P|aintiffs Have Pled a Set of Deceptive Trade Practices Act Vio|ations
with Sufficient Particularity.

Defendant conflates a consumer fraud cause of action pursuant to NDTPA with
common law fraud. The Picus case cited by defendants, for example, did not involve,
consider or adopt a FRCP 9(b) standard. Picus v. Wal-Mart Stores, lnc., 256 F.R.D. 651,
658 (D.Nev. 2009) (instead, discussing certification). But it did indirectly affirm that a

plaintiff sets forth a plausible claim for relief by pleading a violation of the Act that has

 

2 Plaintiffs have also retained their own competent scientists, medical professionals and
economists to review the Complaint and approve it.

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caused damage - which plaintiffs have plainly done (see above). A similar overstep is
defendant’s citation to Vess v. Ciba-Geigy Corp. USA, 317 F.3d 1097, 1103 (9th Cir.
2003), Kearns v. Ford Motor Co., 567 F.3d 1120, 1124 (9th Cir. 2009) (quoting Vess) and
Odom v. Microsoft, 486 F.3d 541, 554 (9th Cir. 2007) for the same conflated proposition.
Vess, Kern and Odom do not stand for the proposition that a Nevada plaintiff alleging a
violation of NDTPA must plead some, or any, of its claims with Rule 9 particularity.
lnstead, they only beg the question of whether the Act, or any part of it, requires proof of
fraud.3 And Nevada federal district courts that have looked directly at the matter are not in
complete agreement on the point.

As far as state law goes, the Nevada Supreme Court held that a plaintiff asserting a
NDTPA claim does not need to prove its case by a clear and convincing evidence
standard - applicable to fraud cases --, but only by a lesser preponderance of the
evidence standard as in any other “civil matter”. Betsinger v. D. R. Hon‘on, lnc., 126 Nev.
162, 165, 232 P.3d 433, 435 (2010) (drawing a clear distinction between statutory fraud
[oftentimes a misnomer] and common law fraud). And the reason for the distinction is
because the consumer protection statutes are meant to provide consumers with a cause
of action that is easier to establish than common law fraud. ld., citing Dunlap v. Jimmy
GMC of Tucson, lnc., 236 Ariz. 338, 666 P.2d 83, 88-89 (Ariz.Ct.App. 1983).

lt would seem to follow, then, that the Nevada Supreme Court would not apply Rule
9(b) to a Deceptive Trade Practices Act claim since the Nevada Legislature did not
specifically require it. Greystone Nevada LLC v. Anthem High/ands Community Ass’n.,
U.S.D.C. Nev., July 9, 2012 (Order) (not reported in F.Supp. 2d), WL 2782603 (denying

that Rule 9(b) applies to violations of the Act, based on Betsinger). Cf., Drover v. LG

 

3 And unlike Vess, plaintiffs do not allege common law fraud.

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E/ectronics, U.S.D.C. Nev., October 18, 2012 (Order) (not reported in F.Supp.2d), WL
5198467 (subdividing Rule 8 and 9 responsibilities within the Act, but failing to consider
Betsinger).

Notwithstanding the questions on a lesser or greater pleading burden, Plaintiffs
have pled that the alleged deception occurred at point of sale in Nevada - as each bottle
prominently bears the label upon purchase - and has occurred continuously for over a
decade. The complaint already states the identity of the parties, including a reasonably
objective and ascertainable class, and the nature of the false and/or deceptive labeling
with considerable particularity. ln addition, since the court is dealing with the same label
on every former bottle of water, regardless of who purchased it, specific details of time
and place for every transaction are not required to be plead.

Further, as noted earlier, the complaint even subdivides violations within the
NDTPA."' None of them can fairly be read to imply fraud as an element of proof. Plus,
the complaint does not merely recite conclusory violations of each provision. lnstead, it
individually and painstakingly explains why each allegedly false and/or misleading
statement violates each specifically identified provision of the Act. ECF Doc. 2-1,
paragraphs 13 - 20, followed by 41 - 51. Taken together, these well plead allegations are
all that is required to satisfy a Rule 9 analysis and allow the defendant to defend itself.
Rocker v. KPMG LLP, 122 Nev. 1185, 1193, 148 P.3d 703 (2006), abrogated on other

grounds by Buzz Stew LLC v. City of North Las \/egas, 124 Nev. 224, at 228, 181 P.3d

 

4 ECF No. 2-1, para. 13 identifies the 6 specific violations of the Act that are related to direct
misrepresentations of fact on the common label. [None of them have to do with whether REAL
WATER has an exclusive license to a proprietary process, a red herring. ECF No. 8: 9: 1-4] 2
use the word “knowing”, which is not equivalent to a showing of fraud, 1 goes to what the
defendant knew about its product, which is not fraud and is subject to objective proof, and the
remaining 3 are purely objective and require no state of mind. But overa||, plaintiffs submit that
none of these violations should be treated akin to a fraud standard.

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670 (2008) (providing that Rule 9 only requires specific averments about time, place,

identity of parties and the nature of the fraud (or deception), unless this information is in

 

the possession of the defendant [adopting a “relaxed pleading” standard]);5 Edwards v.
Marin Park, lnc., 356 F.3d 1058, 1066 (9th Cir. 2004) (cited by defendants for the same
underlying general proposition, and actually supporting plaintiffs’ argument that they have
met the Rule 9 standard, if applicable at all); Yourish v. Cal. Amp/ifier, 191 F.3d 983, 993
(9th Cir. 1999) (holding that, in addition to alleging the time, place and content of an
alleged misrepresentation, a “plaintiff must set forth what is false or misleading about a
statement, and why it is false.”).

Next, contrary to defendant’s assertions that “intent” or “knowledge” is pled without
specificity (see, e.g., ECF Doc 8, 9: 5-7, 17), plaintiffs can aver malice, knowledge and
other conditions of mind generally. Rocker, id. Therefore, even if the Act is subdivided by
any mild condition of mind, any Rule 9 state of mind requirements have been sufficiently
plead.6

The court can also plausibly infer that the misrepresentations about the special
characteristics and health properties of the water are material. For example, the REAL
WATER owner contends that the company developed a proprietary technology that

nobody else has been able to reproduce, that yielded the water’s special qualities. ECF

 

5 ECF No. 2-1, para. 24 (defining the Nevada class); para. 25 (stating: P|aintiffs submit that
Defendants have sold REAL WATER to numerous Nevada consumers, likely in the thousands if
not tens of thousands of purchasers and continues to do so. lt is expected that Defendants and
their suppliers maintain records, including specific purchase records, for all or many of these
transactions Defendants should make all efforts to preserve these records as they are on notice
of this action.).

6 One wonders why the defendant believes its citation to Conway v. Circus Circus Casinos, /nc.
helps the court in any way. lt is entirely inapposite factually and legally. Conway stands for the
proposition that an employee injured on the job is required to plead more than a mere statement
that an employer deliberately and specifically intended to injure him, to avoid the exclusive
recovery provisions of the worker’s compensation system.

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Doc. 2-1, para. 15. Yet, a number of scientists and doctors have said that these material
attributes are impossible. ECF Doc. 2-1, paragraphs 15, 16 and 18 (including references).
l\/loreover, these attributes are the things that defendant has now removed from its label.
So, the defendant’s attempt to characterize select parts of the label as “puffery” because
they only state an opinion or commendation of the goods, should be rejected.7

Comp|etely unlike the facts in Sylver v. Exec. Jet Mgmt.B, there is no way to
similarly conclude that the ordinary consumer of REAL WATER, which bears a label that
says the water was created by a proprietary method known only to REAL WATER, and
that will transform a person, move the body to a more alkaline state by removing acid
toxins, take in an abundance of antioxidant electrons and cause the user to experience
increased cellular hydration [ECF Doc. 2-1, 11], are not likely to deceive a reasonable
consumer. Bruton v. Gerber Products Company, 961 F.Supp.2d 1062, 1095 (USDC,
N.D. Cal. 2013) (providing that misdescriptions of specific or absolute characteristics of a
product are actionable, and are not boasts, superlatives or puffery.); Edmundson v.
Procter & Gamb/e Co., 537 Fed.Appx. 708, 709 (9th Cir. 2013) (same); ln re C/orox
Consumer Litigation, 894 F.Supp.2d 1224, 1233 (same).

lf anything, the REAL WATER labeling is obviously more material and grossly more
misleading than the examples evaluated and passing muster in the above cases. ln fact,
they are “literally false” because they violate the laws of nature. FLlR Systems, lnc. v.

Sierra Media, lnc., 903 F.Supp.2d 1120, 1129 (U.S.D.C. Ore. 2012) (holding literally false

 

7 The court may note some inconsistency in defendant’s arguments. lt suggests that its
misrepresentations are mere “puffery” (ECF Doc. 8, 10: 2-4), after it argued: “Defendant clearly
endorses its product and can prove each of the allegations set forth in the |abel”. ECF Doc. 8, 9:
15 - 16. But even earlier, defendant admits that it changed it’s label-significantly See, supra in
this argument.

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advertisements create a presumption of deception and reliance, Lanham Act case); Avid
identification Systems, lnc. v. Schering-P/ough Corp., 33 Fed.Appk 854, 856 (9th Cir.
2002) (applying same standard to state law claims under California’s business code
because they are “substantially congruent” to Lanham Act violations). ln following, the
material misrepresentations at issue here justify a presumption of deception and reliance
because every member of the class was uniformly exposed to the label, which was on
every bottle sold. Mora/es v. Unilever, lnc., 2014WL 1389613 (E.D. Cal. Apr. 9, 2014)
(holding that plaintiffs alleging that representations that products contain only natural
ingredients is “material to a reasonable consumer” and sufficient to invoke a presumption
of reliance of California’s Unfair Competition Law, citing Bruton); Brown v. Hain Celestial
Group, lnc., 2015WL 3398415 (S.D. Cal. l\/lay 26, 2015) (finding materiality is presumed
where product mislabeled as organic was likely to deceive a reasonable consumer), citing
further to Stearns v. Ticketmaster Corp., 655 F.3d 1013, 1020 (9th Cir. 2011). These
cases also stand for the similar proposition: that material violations of state consumer
protection statutes focus on the conduct of the defendant, and are not keyed to an
individual’s state of mind. Taken together, these are the reasons why the Brown court
found from the basic mislabeling of the product that there was class-wide materiality and
class-wide reliance. See also, as a point of comparison, plaintiffs’ fully pled violation of
NRS 598.0925 (providing that an assertion of scientific, clinical or quantifiable fact which
would cause a “reasonable person” to believe it was true, is a violation of the Act). ECF

Doc. 2-1, 43, 49.

 

8 Sylver v. Exec. Jet Mgmt., No. 2:10-cv-01028-RLH-RJJ, 2011 U.S. Dist. LEX|S 255, at *9
(D.Nev. Jan. 3, 2011) (holding that a Plaintiff could not reasonably rely on obtaining a specific
aircraft since the contract said the aircraft was subject to change).

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But perhaps the most glaring example of materiality, non-puffery and perhaps even
an admission against interest, is defendant’s reference to its “current |abel”, which it
conveniently does not provide for the court’s inspection (ECF Doc. 8, 6:25), which it does
not dare to compare to the one identified in the Complaint, and which it fails to say
when/why it was recently introduced. Exhibit 1.9 Defendant substantially changed the

very scientific and health claims on its label that plaintiffs complain about. A side by side

comparison of the labels appears below (o|d to |eft, new to right):

 

tye use Eco-Friend|y Rocyc|ad (RPET) & llPi\ tree P|asna
Real Water strives to bethe healthiest drinking wateravailable
may With the proprietary EZ-E|eetron Energized technology
lealWater is beyond alkalinity,..itis infused with negative (-)

  
  
     
     

 
 

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TRANSFORM YOURSELF WITH REAL WATER|

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~lake in an abundance of antioxidant elections to neutralize ‘ mdma me W of a
harmful free radi(a|s. hew ‘ mm mm wm ml
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meals H't'c\:z“*"“ '“*N':‘$ ‘*"*""'“* Taste and feel Tl'llS difference

TRANSFORMYOURSELFWHHREALWATEU .‘

   
       
     

WWW.DRINKREALWATER.C°||

 

9 Exhibit 1 is a picture of the “current” label, which was picked up at a grocery store after the
motion to dismiss was filed. Affidavit of counsel, attached.

 

 

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Plainly, many of the false and/or misleading scientific and health claims made on the old
bottle have just been turned from something concrete into smoke. The defendant’s made
the following affirmation of facts, descriptions and promises related to the water that have

now been removed from the label:

- Compare this to most purified waters which are acidic and positive ionized
- l\/lany health professionals believe that an acidic body can be unhealthy
- Since Real Water is alkalized and negatively ionized, it can help your body
to become more alkalized to improve your health
- l\/love your body to an alkalized state by removing acidic toxins
- Take in an abundance of antioxidant electrons to neutralize harmful free
radicals
Experience increased cellular hydration like never before!10
Whether considered pursuant to Rule 8 and/or Rule 9, the plaintiffs’ Nevada
Deceptive Trade Practices Act cause of action provides sufficient information to set forth
the kind of plausible claims which routinely overcome Rule 12(b)(6) and 9(b) challenges
And again, this conclusion is consistent with a body of Ninth Circuit cases rejecting the
defendant’s plausibility arguments in deceptive trade act (or similar) cases, because
whether a label is deceptive to the “reasonable consumer” (not any particular individual) is
generally a question of fact that is not appropriate for resolution on the pleadings See,
e.g., Bruton v. Gerber Products Company, 961 F.Supp.2d 1062, 1089 (USDC, N.D. Cal.
2013), citing Wi//iams v. Gerber Products Co., 552 F.3d 934, 938-39 (9th Cir. 2008). Also,
it is abundantly clear that defendant is aware that it’s not-so-old label, used for over a
decade until now, was materially false, misleading and legally indefensible, because it
recently changed the label.

Finally, plaintiffs submit that a claim for violation of NDTPA does not accrue until

the aggrieved parties’ discovery facts that constitute the violation. NRS 11 .190(2)(d). And

 

10 The Court may also take notice that defendant removed the term “healthiest” drinking water
available from the label, and replaced it with “taste fantastic”.

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there is no reason to believe that any of the plaintiffs or putative class members knew that
the labeling was false when they bought it. ln fact, the material nature of the
misrepresentations entitles them to a presumption of deceit and reliance on a class-wide
basis during the entire course that the defendant’s former label was exclusively on the
market.

3. Plaintiffs Have P|ed Breach of Express Warranties with Sufficient
Particularity Under Rule 8.

Defendant’s 1 % page argument trying to summarily dismiss plaintiff’s express

warranty cause of action lacks candor.

Above, plaintiff set forth a good number of the label’s disputed scientific and health
claims that were recently removed from the product label. All of these original affirmations
and promises, as well as others, were incorporated by reference into the express warranty
cause of action - to avoid repetition. ECF Doc. 2-1, paragraph 54. And plaintiffs plainly
said they purchased the product based on the labeling. ECF Doc. 2-1, paragraph 55.

As noted above, these affirmations, promises and descriptions of the water’s
unique health benefits are material, and plaintiffs are even entitled to a presumption of
reliance and deceit. Better yet, reliance is not even a prerequisite for an express warranty
claim as long as the express warranty was a part of the bargain, which was similarly pled.
ECF Doc. 2-1, paragraph 56. All/ed Fidelity /ns. Co. v. Pico, 99 Nev. 15, 17-18, 656 P.2d
849, 850 (1983). Plus, there is absolutely no evidence that the plaintiffs examined the
label and independently determined the scientific and health representations were false,
and still bought the product.11 And any such incredible defense, if even allowed given the

presumptions of deceit and reliance, would be for a trier of fact to decide. ld.

 

11 ls defendant saying that its customers should have known that its labeling was false? This
seems to be the argument ECF Doc. 8, 10: 5-6.

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Also, for good measure, federal and state courts alike have often found that false
labeling claims asserting breach of express and implied warranties - much like this one-
are appropriate for class certification See, by way of example only, as there are
numerous others: ln re ConAgra Foods, lnc., 90 F.Supp.3d 919, 983 - 987 (U.S.D.C. CD
Cal. 2015) (consumers of Wesson oils labeled as 100% natural, but containing genetically
modified organisms); Astiana v. Kashi Co., 291 F.R.D. 493, 505 -506 (U.S.D.C. CD Cal.
2013) (consumers of Kashi food products labeled as “Nothing Artificial” or “All Natural”,
but containing synthetic ingredients).

Finally, plaintiffs agree that their express and implied warranty claims are likely
subject to a four-year statute of limitations. NRS 104.2725. Though Nevada courts have
not clarified what is required for an express warranty to “explicitly extend to future
performance”, the Ninth Circuit has adopted the rather harsh majority rule in constructing
statutes similar to Nevada’s NDTPA. Western Recreational Vehic/es, lnc. v. Swift
Adhesives, lnc., 23 F.3d 1547, 1549-53 (9th Cir. 1994). Similarly, the Ninth Circuit has
said that the “future performance” language does not usually apply to implied warranty
claims. J.B. Painting and Waterproofing v. Rgb Holdings, LLC, 650 Fed.Appx 450, 453-4.
However, defendant may be estopped from asserting the 4 year limitation to plaintiff’s
implied warranty claim based on the doctrine of fraudulent concealment Roberts v.
Electrolux, 2013 WL 7753579 (C.D. Cal. l\/larch 4, 2013); Phillips v. Ford Motor Co., 2016
WL 1745048 *15 (N.D. Cal. l\/lay 3, 2016). This will require further discovery regarding
defendant’s prior knowledge that its labeling, now removed, was false, while defendant
continued to advertise using the old label.

4. Plaintiffs have P|ed a Breach of implied Warranty Claim with Sufficient
Particularity Under Rule 8.

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Defendant’s argument for the dismissal of plaintiffs’ properly pled breach of implied
warranty claim can be summarized as this: “we can lie and deceive our customers into
paying a premium price for bottled tap water, with impunity, as long as it is drinkable”. But
as it turns out, defendant’s argument lacks candor.

There are a number of ways that a breach of the implied warranty of
merchantability can be established NRS 104.2314(2)(a)-(f). For some inexplicable
reason, defendant only talks about element (c) (fit for the ordinary purposes for which
such goods are used). But element (f) (conform to the promises or affirmations of fact
made on the container or label) is what is at issue and set forth clearly in the complaint.
See ECF 2-1, paragraphs 56 and 57. Zacharia v. Gerber Products Co., 2015WL 3827654
(stating: “Plaintiff’s breach of implied warranty claim is based on alleged affirmative
representations made by defendant on the labeling of the formula. Thus, the claim is not
based on an alleged failure by defendant to conform to the intended purpose of infant
formula in general.”).

As set forth in detail earlier, plaintiffs’ claim rests on compelling (or certainly
plausible) claims that every bottle of REAL WATER bearing the former label made
materially false and misleading scientific and health promises and affirmations. Plus,
nowhere in plaintiffs’ complaint do they state or claim that the water was not drinkable. lf
anything, plaintiffs portrayed it as nothing more or less than safe, inexpensive, publicly
subsidized potable Lake Mead tap water. ECF 2-1, paragraph 10.

Finally, the court may note that defendant tries to unintelligibly defend itself by
pointing out plaintiff’s contention that the water was already alkaline from its source,
another misleading ploy. ECF 2-1, paragraph 5. But REAL WATER removed the term
“alkalized water” from its new label - again acknowledging that its initial offering was
misleading because the water that it “manufactured” was already alkaline; i.e., they were
not giving consumers anything more by way of alkalinity than the Lake Mead tap water
used as its source. So, plaintiff has no idea how this argument, or admission against

interest, helps defendant avoid another violation of NRS 104.2314(2)(f).

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5. P|aintiffs have P|ed an Unjust Enrichment Claim with Sufficient
Particularity Pursuant to Rule 8.

Defendant contends that plaintiff’s unjust enrichment claim cannot coexist with its
other “adequate” causes of action, ECF Doc. 8, 20-28. Setting aside the fact that
defendant contends that plaintiffs’ other causes of action should be dismissed,
defendant’s unanalyzed citation to a Nevada case does not support defendant’s
argument.

ln Las Vegas Valley Water District v. Curtis Park, 98 Nev. 275, 278, 646 P.2d 549,
551 (1982), the Nevada Supreme Court held that a district court lacked discretion in equity
to alter the state engineer’s permit decision which was mandated by state statute. By
direct reference to Eagle Thr/'fty Drugs & Markefs, lnc. v. Hunter Lake Parent Teachers
Ass’n., 85 Nev. 162, 451 P.2d 713 (1969), it was clear the court was merely holding to the
proposition that equity cannot directly interfere with, or in advance refrain, the discretion of
an administrative body’s exercise of legislative power. And plaintiffs herein are not asking
the court, in equity, to interfere with any administrative body’s exercise of discretion
pursuant to state statute.

Here, plaintiffs set forth a plain and simple claim that defendant received a financial
benefit from its transactions with plaintiffs that it would be unjust for it to retain (ECF Doc.
2-8, paragraphs 63 - 65)_a classic case of unjust enrichment. Cen‘ified Fire Prot. lnc. v.
Precision Constr., 128 Nev.Adv.Op. 35,283 P.3d 250, 256-57 (2012) (expounding on
unjust enrichment as a subspecies of quantum meruit that is not based on contract, as a
stand-alone claim in Nevada). And, there is nothing wrong with pleading this claim in the
alternative in a false labeling case, pursuant to Rule 8(d)(2). Astiana v. Hain Celestial
Group, lnc., 783 F.3d 753, 762-63 (9th Cir. 2015).

Next, defendant argues that plaintiff’s unjust enrichment claim is barred because
the plaintiffs have “p|ead the existence of an express contract with Defendants”. ECF

Doc. 8, 12: 9-11. This is simply false, as the court may take judicial notice that plaintiff’s

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complaint does not allege the existence of an express contract or a breach of contract
cause of action. ECF Doc. 2-1.

Finally, an unjust enrichment claim is subject to a four-year statute of limitations
NRS 11.190(2)(c). However, the cause of action does not accrue until the claimants
knew, or should have known, of the facts giving rise to the claim. And this is forthe trier of
fact to determine. /n re Amerco Derivative Litigation, 127 Nev.Adv.Op. 17, 252 P.3d 681,
703 (2011); Nanyah Vegas LLC v. Rogich, 2016 WL 606896 (D. Nev. February 12, 2016).

|V. Opposition to Defendant’s Rule 12(f) Motion to Strike NDTPA Class
Allegations.

1. The Motion to Strike Should be Limited to Plaintiff’s NDTPA Claim, the
Sole Scope Evaluated in Picus.

Defendant relies almost exclusively upon the Picus decision for its motion to strike
class allegations Picus v. Wa/-Man‘ Stores, lnc., 256 F.R.D. 651(D. Nev. 2009).12 ln
Picus, the district court struggled with whether the Nevada Supreme Court would permit
an inference of reliance “under the circumstances” of that particular NDTPA case. ld. at
659. The court did not evaluate whether other causes of action, which do not have any
supposed reliance requirement (e.g., breach of warranties, see infra), would be subject to
rarely-granted, Rule 12(f) scrutiny. ld at 655. Therefore, defendants have presented this
court with no binding or competent authorities to strike plaintiffs’ class allegations on the
NDTPA claim, let alone across the board, and it would be unfair for defendant to raise
new authorities for the first time in reply. Plus, as noted earlier, many courts have granted
class certification of deceptive trade practice, breach of warranty and unjust enrichment
causes of action in false labeling cases based on persuasive or more compelling

authority.

 

12 LR lA 7-3 (Citations of Authority), Subsection (f) provides: “A decision by one judge in this
district is not binding on any other district judge (un|ess the doctrines of law of the case, res
judicata, or collateral estoppel othen/vise app|y) and does not constitute the rule of law in this
district.

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2. The Picus Case ls Also Distinguishable on the Facts. Plus, there is
Reason to Be|ieve the Same Court May Have Come to a Different
Outcome had the Court been presented with REAL WATER.

P|aintiffs in the Picus case alleged that “Ol’Roy” dog food products contained
Chinese ingredients that were not “l\/lade in the USA”, which representation appeared on
the packaging of its products along with a lot of other information. First, the court
questioned whether customers even saw the “l\/lade in the USA” label. ld. at 658. Second,
the court questioned whether the “l\/lade in the USA” labeling, even if it was seen, was
material, questioning the underlying premise that something “l\/lade in the USA” means
something of higher quality. ld. at 658. Third, there seemed to be no evidence that “Ol
Roy” pet food was priced higher because of the “l\/lade in the USA” label, or that
consumers paid a higher price because of this labeling. ld. at 658.

On the other hand, the Picus court recognized instances where other courts made
a presumption of reliance if a defendant made a material misrepresentation to all class

members:

“ln Wiener, the court inferred reliance because misrepresentations
concerning the clinically proven health benefits of yogurt were displayed
prominently on packaging, all class members must have seen the
packaging upon purchasing the yogurt, and the defendants pointed to no
meaningful differences with other yogurt, such as flavor or serving size,
that might have influenced consumer purchases”.

Picus, at 659.

Here, like Wierrer, each bottle of REAL WATER prominently displayed the false and
misleading scientific and health claims that defendant claims distinguished its water from
its un-REAL competitors For defendant to claim that the “reasonable consumer”
purchased this expensive, filtered tap water because they were thirsty and had no other
choices, the color of the bottle, celebrity endorsements ecological plastic or local
preferences (Doc. 8, 19) is to totally disregard the materially false and misleading claims
that gave the water its entire brand identity. Plus, defendant has now completely changed

its label to remove these false and misleading claims

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So, unlike the unique facts presented in Picus, this court does not have to struggle
to plausibly infer prominence, materiality, reliance or injury with respect to the labeling of

REAL WATER.

3. The Nevada Deceptive Trade Practice Act is based on the “Reasonab|e
Consumer” Model, Not individual Re|iance/Causation.

As noted further above, it is impossible to reconcile an individual reliance/causation
requirement with the plain language of NRS 598.0925, by way of example,_ which adopts a
“reasonable person” standard by legislative mandate. ln fact, NRS 598.0925 is not the
only section of the NDTPA to incorporate the “reasonable person” standard. See NRS
598.0918 (defining deceptive trade practice to conduct a solicitation or sales presentation
“in a manner that is considered by a reasonable person to be annoying, abusive or
harassing”); NRS 598.1305 (prohibiting persons soliciting charitable donations from
making any claim or omission that “has the capacity, tendency or effect of deceiving or
misleading a person acting reasonably under the circumstances”; NRS 598.136
(“‘language of the advertisement’ means the use of any language that has the tendency to
lead a reasonable person to believe . . .”); and NRS 598.138 (“special|y selected” means
the use of language that has a tendency to lead a reasonable person to believe . . .”).
Notably, none of the foregoing provisions requires that a consumer be actually misled;
rather, each provision and the Act as a whole, focuses on the content of the
representations being made and whether such representations would mislead a
reasonable person.

This focus is in keeping with the intent of the Nevada Legislature. Specifica|ly, the
“reasonable man” standard was inserted into the bill “so that violations of the act could be
more easily proven.” Hearing on AB 301, Before the Commerce Comm., 57th Leg. (Nev.
March 28, 1973), a sentiment later expressed in Befsinger. Additionally, when testifying in
favor of adoption the 1989 amendments to NRS 598, Larry Struve, Department of

Commerce, Mr. Struve further explained,

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What we are trying to get across in A.B. 275 is to encourage
those who are making assertions of fact that they intend for a
reasonable person to believe is true, so they can make their
decision to buy whatever product or service they are selling, to
make that a truthful representation so that the playing field is
even in the market place, and the consumer is making the
decision based on whatever they believe is the best bargain in
town or the lowest price or whatever . . .[l]t is called ‘the
reasonable man standard.’ . . . it would be decided on a case
by case basis ln the system now it would probably be a jury
who would decide whether or not a reasonable man or
common sense would apply.

Hearing on AB 275, Before the Senate Comm. on Commerce and Labor, 65th Leg. (Nev.
April 26, 1989). During that same hearing, Mr. Robert Barengo testified “that deceptive
advertising was a problem all over the country,” and “stressed when people say it is a
scientific fact that their product is the best then . . . that gives much more weight to the
advertising.” g lmportantly, the amendments to the NDTPA being discussed at this
hearing were based on the Federal Trade Commission (“FTC”) rule regarding
substantiation in advertising ld. Thus, additional evidence of the legislative intent behind
these amendments can be found in the FTC’s Policy Statement Regarding Advertising

Substantiation, which clearly states

Objective claims for products or services represent explicitly or
by implication that the advertiser has a reasonable basis
supporting these claims These representations of
substantiation are material to consumers [fn 2 Nor
presumably would an advertiser have made such claims
unless the advertiser though they would be material to
consumers.] That is, consumers would be less likely to rely on
claims for products and services if they knew the advertiser did
not have a reasonable basis for believing them to be true . . .
[T]he Commission assumes that consumers expect a
‘reasonable basis’ for claims . . . The Commission will take
care to assure that it only challenges reasonable
interpretations of advertising claims.

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Advertising Substantiation Policy Statement, appended to Thom,oson Medica/ Co., 104
F.T.C. 648, 839 (1984) (aff’d, 791 F.2d 189 (D.C. Cir. 1986)) (cert. denied, 479 U.S. 1086
(1987) (emphasis added)).

Rather clearly, the focus of the Act is on the conduct of the defendant, not the
state of mind of each consumer. ln F.T.C. v. Figgie lntern., lnc., the Ninth Circuit was
called upon to interpret similar statutory language in a Federal Statute. 994 F.2d 595 (9th
Cir. 1993). The provision at issue stated, in pertinent part, “lf the Commission satisfies the
court that the act or practice to which the cease and desist order relates is one which a
reasonable man would have known under the circumstances was dishonest or
fraudulent, the court may grant relief under subsection (b) of this section.” 15 U.S.C. §
57b(a)(2) (quoted in Figgie, 994 F.2d at 603) (emphasis added). The Ninth Circuit rejected
appellants argument that the phrase “reasonable person would have known” required
actual knowledge, and held, “Congress unambiguously referred the district court to the
state of mind of a hypothetical reasonable person, not the knowledge of the defendant,
The standard is objective, not subjective.” Figgie, 994 F.2d at 603. Likewise, the Court
rejected Figgie’s argument that redress should be limited to consumers who could prove
actual reliance. ld. at 605. The Court held, “A presumption of actual reliance arises once
the Commission has proved that the defendant made material misrepresentations that
were widely disseminated, and that consumers purchased the defendant’s product.” ld. at
605-06. Here, the “reasonable person” standard set forth in NRS 598.0925
unambiguously refers to a hypothetical reasonable person, not the individual named
plaintiffs

lt is also difficult to reconcile the public policy supporting consumer protection with
an individual inquiry. ln Powers v. United Services Auto. Ass’n, 115 Nev. 38, 979 P.2d
1286 (1986), the Nevada Supreme Court held that a false representation is material if it
concerns a subject relevant to the inquiry and if a reasonable person would attach
importance to that fact. Similar, Pegasus v. Reno Newspapers, lnc., 118 Nev. 706, 715,

47 P.3d 82, 88 (2002) (holding, that in determining whether a statement is actionable for

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the purposes of a defamation suit, the court must ask “whether a reasonable person
would be likely to understand the remark as an expression of the source’s opinion or as a
statement of existing fact [citation omitted]”).

Also, it is difficult to reconcile the outcome in Picus with the holding in Wi//iams v.
Gerber Products Co., 552 F.3d 934, 938 (9th Cir. 2008) and its many progeny. See, e.g.,
Jones v. ConAgra Foods, lnc., 912 F.Supp.2d 889, 899 (deceptive labeling claims under
substantially congruent California deceptive business practice statutes are evaluated by
whether a reasonable person would likely be deceived)13; Ebner v, Fresh, lnc. _ F.3d _,
2016 WL 5389307 (9th Cir. 2016) (stating that under reasonable consumer test, plaintiff
must make a plausible showing that members of the public are likely to be deceived). And
Betsinger made it pretty clear that the Nevada Supreme Court was looking to the intent of
other states’ substantially similar consumer protection laws to support its easing of proof
requirements

Next, Pou/os v. Caesars World, lnc., 379 F.3d 654, 666 (9th Cir. 2004), cited in
Picus and defendant’s brief, merely stands for the proposition that there are limits on
when a presumption of reliance arises in civil R|CO claims This limited application to
R|CO claims can be seen in the cases following Pou/os, none of which involve deceptive
advertising claims ln following, Pou/os should have no precedential bearing on whether
a presumption of reliance applies in consumer false advertising cases pursuant to state
law, which follow Williams.

Finally, the Picus court did not find that any individual questions of damages would
preclude certification. Just the opposite. Picus, at 658. ln fact, the only reason the court
dismissed the class action allegations with respect to the deceptive trade practices act

claim was its fact-specific determination that a presumption of reliance/causation would

 

13 Cases interpreting California’s deceptive practices act are of particular importance to the
interpretation of NRS 598.0925, as the text of California’s act was included as an exhibit
considered by Nevada’s Legislature when enacting AB 275, which amended NRS 598.0925.
Hearing on AB 275, Before the Senate Comm. on Commerce and Labor, 65th Leg. (Nev. May 5,
1989).

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presumably be required by the Nevada Supreme Court. Othen/vise, it certainly looked like

the court would have granted class certification.

'V. Conclusion

For all of these reasons plaintiffs ask first that this court withhold ruling pending
disposition of its subject matter jurisdiction and remand. But if the matter is not
remanded, then plaintiffs ask that defendant’s motions to dismiss and to strike be denied.

DATED this 21St day of October 2016.

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CERT|F|CATE OF SERV|CE
Pursuant to F.R.C.P. 5(b), l certify that l am an employee of CANEPA R|EDY
ABELE & COSTELLO, and that on this NOctober, 2016, l did cause a true and
correct copy of PLA|NT|FFS’ OPPOS|T|ON TO AFF|N|TYL|FESTYLES.COM, |NC. d/b/a
REAL WATER’S l\/lOTlON TO DlSl\/llSS PURSUANT TO FRCP 12(B)(6) AND 9(B); AND
l\/|OT|ON TO STR|KE PURSUANT TO FRCP 12(F) to be served via electronic service by

the U.S. District Court Cl\/l/ECF system to the parties on the Electronic Filing System:

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